                  IN THE COURT OF APPEALS OF NORTH CAROLINA

                                    2021-NCCOA-301

                                     No. COA20-561

                                    Filed 6 July 2021

     Mecklenburg County, No. 18-CVS-23026

     JACOB SAMUEL MCELHANEY AND JULIA ELIZABETH MCELHANEY, as
     beneficiaries of the Jane Richardson McElhaney Revocable Trust and the Samuel
     Clinton McElhaney Revocable Trust, Plaintiffs,

                 v.

     ORSBON &amp; FENNINGER, LLP, and R. ANTHONY ORSBON, Defendants.


           Appeal by Defendants from order entered 3 March 2020 by Judge Donnie

     Hoover in Mecklenburg County Superior Court. Heard in the Court of Appeals

     24 March 2021.


           Shumaker Loop &amp; Kendrick, L.L.P., by Stephanie C. Daniel and Lucas D.
           Garber, for Plaintiffs-Appellees.

           Brooks Pierce McClendon Humphrey &amp; Leonard, L.L.P., by Gary S. Parsons
           and Kimberly M. Marston, for Defendants-Appellants.


           COLLINS, Judge.


¶1         Anthony Orsbon and his law firm, Orsbon &amp; Fenninger, LLP, (collectively,

     “Defendants”) appeal from an order denying their motion for summary judgment on

     certain defenses and granting Plaintiffs’ motion for partial summary judgment.

     Defendants argue that the trial court erred by denying their motion for summary

     judgment as to the defenses of collateral estoppel and election of remedies and
                           MCELHANEY V. ORSBON &amp; FENNINGER, LLP

                                         2021-NCCOA-301

                                        Opinion of the Court



     granting Plaintiffs summary judgment on those defenses. Because Defendants have

     not shown sufficient grounds for immediate appellate review of the trial court’s

     interlocutory order as to the election of remedies defense, we deny Defendants’

     petition for writ of certiorari and dismiss Defendants’ arguments concerning that

     defense. Because Defendants cannot show that each element of collateral estoppel is

     satisfied, we affirm the trial court’s order as to that defense.

                                  I.    Procedural History

¶2         The present action follows a declaratory judgment action (“Declaratory

     Action”) brought by Wells Fargo Bank, N.A., as trustee of the Jane Richardson

     McElhaney Revocable Trust (“Wells Fargo as Jane’s Trustee”), and a claim for

     reformation of that trust (“Reformation Claim”) brought by Jacob and Julia

     McElhaney.     On 7 December 2018, the Mecklenburg County Superior Court

     announced its ruling from the bench on a motion for summary judgment and

     judgment on the pleadings in those actions.

¶3         The same day, Jacob and Julia McElhaney (together, “Plaintiffs”) brought this

     action against Defendants alleging negligence, legal malpractice, and breach of

     contract. Simultaneously, Wells Fargo as Jane’s Trustee, along with Wells Fargo

     Bank, N.A., as trustee of the Samuel Clinton McElhaney Revocable Trust, and Wells

     Fargo Bank, N.A., as executor of the Jane Richardson McElhaney Estate (together,

     “Wells Fargo”) brought an action against Defendants alleging negligence and legal
                          MCELHANEY V. ORSBON &amp; FENNINGER, LLP

                                        2021-NCCOA-301

                                       Opinion of the Court



     malpractice arising from the same set of facts. Upon consent motions in both cases,

     the trial court consolidated the actions for the purposes of discovery. With leave of

     the trial court, Defendants filed amended answers in each action.          Defendants

     asserted as defenses that each of the plaintiffs lacked standing and that collateral

     estoppel and election of remedies barred each of the plaintiffs’ claims.

¶4         Defendants moved for summary judgment in both actions on their defenses of

     collateral estoppel and election of remedies, as well as an alleged lack of damages

     from some or all of Defendants’ alleged negligent acts. Defendants also moved for

     summary judgment against Wells Fargo on the defense of lack of standing. Plaintiffs

     moved for partial summary judgment on standing, collateral estoppel, and election of

     remedies.

¶5         In a consolidated order (“Order on Appeal”), the trial court granted the motions

     for partial summary judgment by Plaintiffs and Wells Fargo and denied Defendants’

     motions. Defendants timely appealed.

                                II.   Factual Background

     A. The Estate Planning Documents

¶6         In May 1996, both Samuel and Jane McElhaney established revocable trusts,

     Samuel’s Trust and Jane’s Trust, respectively. In the fall of 2010, attorney Anthony

     Orsbon (“Orsbon”) assisted Samuel and Jane in amending these trusts and preparing

     other estate planning documents. On 12 October 2010, Samuel and Jane executed
                          MCELHANEY V. ORSBON &amp; FENNINGER, LLP

                                           2021-NCCOA-301

                                        Opinion of the Court



     separate trust agreements amending and restating their trusts. As amended, both

     provided that the trust of the first spouse to die would be divided into a marital share

     and a family share, each share to be administered as a trust. During the surviving

     spouse’s lifetime, he or she would be entitled to certain distributions from both the

     marital trust and the family trust.

¶7         Upon the surviving spouse’s death, the surviving spouse’s entire trust would

     be allocated to the family share which, along with any remains of the marital share,

     would be distributed to an identified set of beneficiaries (“Specific Beneficiaries”).

     Following amendments in 2011, Samuel’s and Jane’s Trusts each provided for

     identical bequests to identical lists of Specific Beneficiaries, comprised of relatives

     and private organizations.

¶8         Each Specific Beneficiary would receive both the bequest provided in Samuel’s

     Trust and the bequest provided in Jane’s Trust. The surviving spouse held a limited

     power of appointment “at any time and from time to time by and through [his or her]

     Last Will and Testament to reduce or decrease any or all bequest amounts

     bequeathed to” the Specific Beneficiaries.

¶9         After disbursement to the Specific Beneficiaries, any remainder would be held

     by the trustee “for the benefit of [Samuel and Jane’s] grandchildren who are living at

     the Division Date.” Plaintiffs are the children of Samuel and Jane’s one son, Scott

     McElhaney. Following Scott McElhaney’s death in 2010, Plaintiffs were the sole
                            MCELHANEY V. ORSBON &amp; FENNINGER, LLP

                                             2021-NCCOA-301

                                         Opinion of the Court



       living descendants of Samuel and Jane. After Samuel died in August 2015, Jane

       consulted Orsbon concerning her estate planning documents.         In October 2015,

       Orsbon provided drafts of updated estate documents to Jane’s Wells Fargo financial

       advisor, Linda Montgomery. In November, Montgomery had discussions with Orsbon

       concerning changes Jane desired to make to the draft documents.

¶ 10         On 8 December 2015, Jane executed a new Last Will and Testament (“Jane’s

       Will”) and an Amended and Restated Trust Agreement modifying her Trust. Jane’s

       Will disposed of certain personal property and otherwise left the remainder of her

       estate to her Trust via a pour-over clause. Jane’s Trust, as amended in 2015, stated

       that “[t]he Family Share shall be administered as a Family Trust” with a changed

       list of specific bequests. The amendment eliminated certain Specific Beneficiaries,

       reduced bequests to others, and added one new Specific Beneficiary. The remainder

       of Jane’s Trust after payment to the Specific Beneficiaries was to be divided in equal

       shares and held in trust for Jane’s grandchildren or, if applicable, the issue of her

       deceased grandchildren. Jane died on 21 April 2017.

       B. The Declaratory Action and Reformation Claim

¶ 11         On 3 October 2017, Wells Fargo as Jane’s Trustee instituted the Declaratory

       Action in Mecklenburg County Superior Court. Its petition for declaratory judgment

       included the following allegations:

                          22. Specifically, as [Jane’s] Trust does not provide
                     MCELHANEY V. ORSBON &amp; FENNINGER, LLP

                                   2021-NCCOA-301

                                  Opinion of the Court



             for the creation and disposition of a Family Share or
             Family Trust, the reference to the Family Trust contained
             in [Jane’s] Trust creates a latent ambiguity as to whether
             by making such reference Jane intended to exercise her
             testamentary limited power of appointment over the
             Family Trust created under Samuel’s Revocable Trust.

                    23. [Jane’s] Trust does not reference the
             testamentary limited power of appointment granted to
             Jane. Even if it did, the power of appointment granted to
             Jane was limited to the power to “reduce or decrease” the
             bequest of the specific beneficiaries named in Samuel’s
             Trust, and the provision in [Jane’s] Trust adds a
             beneficiary, Ellen McElhaney, which is not authorized by
             the testamentary limited power of appointment granted to
             Jane . . . .

                   24. [Jane’s] Will does not reference the testamentary
             limited power of appointment granted to Jane in the
             Family Trust or any attempt to exercise such power of
             appointment.

             ....

                    35. The Trustee is not aware of any evidence that
             would be admissible to clarify Jane’s intent in using the
             term “Family Share” and/or “Family Trust” in [Jane’s]
             Trust.

¶ 12   Wells Fargo as Jane’s Trustee requested the trial court to:

                   1. Declare that [Jane’s] Will did not exercise Jane’s
             testamentary limited power of appointment over the
             Family Trust.

                    2. Absent the admissibility of evidence to clarify the
             latent ambiguity in [Jane’s] Trust sufficient to find that
             Jane exercised her testamentary limited power of
             appointment over the Family Trust, declare that [Jane’s]
             Trust does not exercise Jane’s testamentary limited power
                            MCELHANEY V. ORSBON &amp; FENNINGER, LLP

                                          2021-NCCOA-301

                                         Opinion of the Court



                    of appointment over the Family Trust[.]

                           3. Absent the admissibility of evidence to clarify the
                    latent ambiguity in [Jane’s] Trust sufficient to find that
                    Jane exercised her testamentary limited power of
                    appointment over the Family Trust, declare that the
                    Trustee shall distribute the property of the Family Trust
                    as set forth in . . . Samuel’s Revocable Trust.

                           4. Absent the admissibility of evidence to clarify the
                    latent ambiguity in [Jane’s] Trust sufficient to find that
                    Jane exercised her testamentary limited power of
                    appointment over the Family Trust, declare that the
                    references to Family Share and Family Trust in [Jane’s]
                    Trust refer to all of the property of [Jane’s] Trust and that
                    the Trustee shall distribute the property of [Jane’s] Trust
                    pursuant to the provisions of . . . the Trust.

¶ 13         On 19 March 2018, Plaintiffs filed a response to the petition for declaratory

       judgment and asserted their Reformation Claim against Wells Fargo as Jane’s

       Trustee and the Specific Beneficiaries. Plaintiffs alleged that

                    [Jane’s] Trust’s express references to “The Family Share”
                    and “Family Trust” created under Samuel’s Revocable
                    Trust, the substantial identity in beneficiaries between
                    [Jane’s] Trust and Samuel’s Revocable trust, and [Jane’s]
                    Trust’s reduction of the specific bequests set forth in
                    Samuel’s Revocable Trust each are indicative of Jane’s
                    desire and intent to exercise the testamentary limited
                    power of appointment granted to her under Samuel’s
                    Revocable Trust.

       Plaintiffs contended that additional extrinsic evidence “further reveals that Jane

       intended, through execution of her Will and the Trust, to exercise the testamentary

       limited power of appointment granted to her under Samuel’s Revocable Trust.”
                            MCELHANEY V. ORSBON &amp; FENNINGER, LLP

                                           2021-NCCOA-301

                                         Opinion of the Court



¶ 14         Plaintiffs sought reformation of Jane’s Trust under N.C. Gen. Stat.

       § 36C-4-415 on the ground that it “fail[ed] to include language clearly expressing

       Jane’s intent to exercise the testamentary limited power of appointment granted to

       her under Samuel’s Revocable Trust.”        They prayed the court to eliminate the

       bequests to Specific Beneficiaries in Jane’s Trust as contrary to Jane’s intent.

¶ 15         Several of the Specific Beneficiaries moved for summary judgment and, in the

       alternative, judgment on the pleadings, arguing that reformation was not available

       as a matter of law. Plaintiffs filed a brief and multiple affidavits in opposition. On

       7 December 2018, the trial court orally announced its ruling:

                          I did read everything because I wanted to make sure
                    that in addition to the arguments that I went back and
                    reviewed everything in context of your arguments. . . . I
                    read the depositions, read the affidavits, read the
                    arguments and reformation and extrinsic evidence.

                           ....

                           [I]n reviewing everything that was provided to me
                    regarding Jane’s [T]rust and the issue of power of
                    appointment and whether it was exercised. . . . I have to
                    find that I don’t see any issues of material fact in this case
                    as relates to what her intentions were at the time of the
                    execution.

                            So as to the petition for declaratory judgment, I’m
                    finding that Jane did not exercise her testamentary limited
                    . . . power of appointment in either her will or her trust and
                    that the claim for reformation will not be available based
                    on the evidence of her intent at the time of execution. So
                    again, as to the motion for summary judgment, I cannot
                    find there are any genuine issues of material fact . . . .
                            MCELHANEY V. ORSBON &amp; FENNINGER, LLP

                                          2021-NCCOA-301

                                         Opinion of the Court



                           I will also grant the motion for judgment on the
                    pleadings after reviewing the pleadings in the file in this
                    case, and that will be my order.

¶ 16         The trial court entered a written order (“Underlying Order”) on 20 December

       2018 stating as follows:

                    After review of the matters of record including, without
                    limitation, the pleadings, including the Petition, the
                    Counterclaim, the Crossclaim, the Answers, and the
                    exhibits referenced therein, the parties’ submissions to the
                    Court and materials filed in support of and in opposition to
                    [the Specific Beneficiary] Movants’ Motions, including
                    sworn deposition testimony, and having the benefit of legal
                    briefs and oral argument by counsel for the parties, the
                    Court finds and determines that there exists no genuine
                    issue as to any material fact and that Movants are entitled
                    to Judgment as a matter of law on all claims and causes of
                    action asserted in this action, except the Movants’ Motion
                    for attorneys’ fees and costs . . . .

       The trial court granted the Specific Beneficiary Movants’ motion for summary

       judgment and, in the alternative, granted their motion for judgment on the pleadings.

       As to the petition for declaratory judgment, the trial court declared that Wells Fargo

       Bank, N.A., shall distribute the property in Samuel’s Trust and Jane’s Trust as

       written in the trust instruments. Finally, the trial court dismissed the Reformation

       Claim with prejudice. Plaintiffs timely appealed to this Court, but withdrew their

       appeal after the parties entered into a confidential settlement agreement.

       C. The Negligence and Malpractice Actions

¶ 17         On 7 December 2018, shortly after the trial court orally announced its decision
                            MCELHANEY V. ORSBON &amp; FENNINGER, LLP

                                           2021-NCCOA-301

                                          Opinion of the Court



       in the Declaratory Action and Reformation Claim, Plaintiffs and Wells Fargo filed

       their respective actions for negligence and legal malpractice. The trial court granted

       summary judgment in favor of Plaintiffs and Wells Fargo on the defenses of lack of

       standing, collateral estoppel, equitable estoppel, laches, and election of remedies, and

       against Defendants with respect to their defenses of collateral estoppel, election of

       remedies, standing, and the alleged lack of damages due to some or all of Defendants’

       alleged negligent acts. Defendants appealed.

                                III.   Appellate Jurisdiction

¶ 18         We first address whether Defendants’ appeal is properly before this Court. The

       Order on Appeal is interlocutory because it does not “dispose[] of the cause as to all

       the parties, leaving nothing to be judicially determined between them in the trial

       court.” See Veazey v. City of Durham, 231 N.C. 357, 361-62, 57 S.E.2d 377, 381 (1950).

       There is generally no right to immediate appeal of an interlocutory order. Goldston

       v. Am. Motors Corp., 326 N.C. 723, 725, 392 S.E.2d 735, 736 (1990). The purpose of

       this rule is to “prevent fragmentary, premature and unnecessary appeals by

       permitting the trial court to bring the case to final judgment before it is presented to

       the appellate courts.” Fraser v. Di Santi, 75 N.C. App. 654, 655, 331 S.E.2d 217, 218
       (1985) (citation omitted). A party may immediately appeal an interlocutory order,

       however, if the order “affects a substantial right claimed in any action or

       proceeding[.]” N.C. Gen. Stat § 1-277(a) (2021).
                             MCELHANEY V. ORSBON &amp; FENNINGER, LLP

                                           2021-NCCOA-301

                                          Opinion of the Court



¶ 19         Defendants contend that the Order on Appeal is immediately appealable to the

       extent that its denial of their motion for summary judgment on the defense of

       collateral estoppel affects a substantial right. “The doctrine [of collateral estoppel] is

       designed to prevent repetitious lawsuits, and parties have a substantial right to avoid

       litigating issues that have already been determined by a final judgment.” Turner v.

       Hammocks Beach Corp., 363 N.C. 555, 558, 681 S.E.2d 770, 773 (2009). Thus, “[i]t is

       well established that the denial of a motion for summary judgment ‘affects a

       substantial right when the motion . . . makes a colorable assertion that [a] claim is

       barred under the doctrine of collateral estoppel.’” Gray v. Fannie Mae, 264 N.C. App.

       642, 645, 830 S.E.2d 652, 655-56 (2019) (quoting Turner, 363 N.C. at 558, 681 S.E.2d

       at 773); see also Fox v. Johnson, 243 N.C. App. 274, 281, 777 S.E.2d 314, 321 (2015)

       (holding that appellants made a colorable assertion of collateral estoppel by including

       the defense in their answer and as a basis for their motion for judgment on the

       pleadings); Hillsboro Partners, LLC v. City of Fayetteville, 226 N.C. App. 30, 35, 738

       S.E.2d 819, 823 (2013) (concluding that appellant made a colorable assertion of

       collateral estoppel because the prior and instant lawsuits both arose from the same

       building demolition).

¶ 20         In this case, before the trial court, Defendants moved for summary judgment

       based on collateral estoppel. Defendants thoroughly briefed and argued each element

       of collateral estoppel and referenced numerous citations to caselaw and the
                            MCELHANEY V. ORSBON &amp; FENNINGER, LLP

                                           2021-NCCOA-301

                                          Opinion of the Court



       evidentiary record. We conclude that Defendants have made a colorable assertion of

       collateral estoppel and the Order on Appeal may affect their “substantial right to

       avoid litigating issues that have already been determined by a final judgment.” See

       Turner, 363 N.C. at 558, 681 S.E.2d at 773. Accordingly, we will review the Order on

       Appeal’s denial of the defense of collateral estoppel.

¶ 21         Defendants aptly concede that no precedent holds that the denial of summary

       judgment on the defense of election of remedies affects a substantial right. Indeed,

       “[t]he avoidance of one trial is not ordinarily a substantial right.” Green v. Duke

       Power Co., 305 N.C. 603, 608, 290 S.E.2d 593, 596 (1982). As such, Defendants have

       petitioned for a writ of certiorari requesting this Court to review the Order on Appeal

       as to their defense of election of remedies.

¶ 22         This Court may issue the writ of certiorari “in appropriate circumstances . . .

       to permit review of . . . orders of trial tribunals when . . . no right of appeal from an

       interlocutory order exists . . . .” N.C. R. App. P. 21(a). We assess petitions seeking

       review of interlocutory orders in light of our “general policy against the piecemeal

       review of” such orders. See Harbor Point Homeowners’ Ass’n ex rel. Bd. of Directors

       v. DJF Enterprises, Inc., 206 N.C. App. 152, 165, 697 S.E.2d 439, 448 (2010). We have

       emphasized that “the routine allowance of interlocutory appeals would have a

       tendency to delay, rather than advance, the ultimate resolution of matters in

       litigation.” Newcomb v. Cnty. of Carteret, 207 N.C. App. 527, 554, 701 S.E.2d 325,
                             MCELHANEY V. ORSBON &amp; FENNINGER, LLP

                                               2021-NCCOA-301

                                            Opinion of the Court



       344 (2010).

¶ 23          Defendants argue that this Court should grant certiorari because (1) the issue

       of election of remedies “arises from substantially the same facts as the collateral

       estoppel issue; (2) the issue could be equally dispositive; (3) the issue is ripe; and (4) it

       would promote judicial economy by eliminating the need for a later appeal on this

       issue.”   These arguments are unavailing because “similar considerations would

       support the issuance of a writ of certiorari in virtually any case in which a trial court

       refuses to grant summary judgment” on one out of several affirmative defenses. See

       id. at 553, 701 S.E.2d at 344. Additionally, as Plaintiffs argue, a decision by this

       Court on the merits of the issue would not necessarily dispose of all claims as to all

       parties. Accordingly, in our discretion, we deny Defendants’ petition for a writ of

       certiorari and decline to review the merits of their arguments concerning the defense

       of election of remedies.

                                         IV.     Discussion

¶ 24          Defendants argue that the trial court erred by denying their motion for

       summary judgment on the defense of collateral estoppel and granting Plaintiffs’

       motion as to that defense.      Summary judgment is proper where “the pleadings,

       depositions, answers to interrogatories, and admissions on file, together with the

       affidavits, if any, show that there is no genuine issue as to any material fact and that

       any party is entitled to a judgment as a matter of law.” N.C. Gen. Stat. § 1A-1, Rule
                            MCELHANEY V. ORSBON &amp; FENNINGER, LLP

                                           2021-NCCOA-301

                                          Opinion of the Court



       56(c) (2020). “The standard of review for summary judgment is de novo.” Forbis v.

       Neal, 361 N.C. 519, 524, 649 S.E.2d 382, 385 (2007) (citation omitted).

¶ 25         “Under the collateral estoppel doctrine, parties and parties in privity with

       them are precluded from retrying fully litigated issues that were decided in any prior

       determination and were necessary to the prior determination.” Turner, 363 N.C. at

       558, 681 S.E.2d at 773 (alteration, citation, and quotation marks omitted). “The

       issues resolved in the prior action may be either factual issues or legal issues.” Doyle

       v. Doyle, 176 N.C. App. 547, 549, 626 S.E.2d 845, 848 (2006). The party alleging

       collateral estoppel must demonstrate

                    that the earlier suit resulted in a final judgment on the
                    merits, that the issue in question was identical to an issue
                    actually litigated and necessary to the judgment, and that
                    both the party asserting collateral estoppel and the party
                    against whom collateral estoppel is asserted were either
                    parties to the earlier suit or were in privity with parties.

       State ex rel. Tucker v. Frinzi, 344 N.C. 411, 414, 474 S.E.2d 127, 128-29 (1996)

       (emphasis added) (brackets, quotation marks, and citation omitted). For issues to be

       considered “identical” to ones “actually litigated and necessary” to a previous

       judgment:

                    (1) the issues must be the same as those involved in the
                    prior action, (2) the issues must have been raised and
                    actually litigated in the prior action, (3) the issues must
                    have been material and relevant to the disposition of the
                    prior action, and (4) the determination of the issues in the
                    prior action must have been necessary and essential to the
                               MCELHANEY V. ORSBON &amp; FENNINGER, LLP

                                           2021-NCCOA-301

                                          Opinion of the Court



                    resulting judgment.

       State v. Summers, 351 N.C. 620, 623, 528 S.E.2d 17, 20 (2000) (citation omitted). “The

       burden is on the party asserting [collateral estoppel] to show with clarity and

       certainty what was determined by the prior judgment.” Miller Bldg. Corp. v. NBBJ

       N.C., Inc., 129 N.C. App. 97, 100, 497 S.E.2d 433, 435 (1998) (internal quotation

       marks and citation omitted); accord Powers v. Tatum, 196 N.C. App. 639, 642, 676

       S.E.2d 89, 92 (2009).

¶ 26         Defendants argue that the instant malpractice and negligence suits present

       the identical issue as the Declaratory Action and Reformation Claim: whether Jane

       intended to exercise her limited power of appointment. Defendants contend that this

       issue was actually litigated and that in the course of deciding the motions for

       summary judgment and judgment on the pleadings in the Declaratory Action and

       Reformation Claim, the trial court actually and necessarily determined that Jane did

       not intend to exercise her limited power of appointment. Plaintiffs respond that

       (1) the previous and instant actions present different issues, (2) the trial court did not

       actually decide the issue of Jane’s intent in the previous actions, (3) any

       determination of Jane’s intent was not necessary to the Order on Appeal, and (4) the

       previous and instant actions involve different facts.

¶ 27         Plaintiffs did raise the issue of Jane’s intent in the Declaratory Action.

       Specifically, they argued that a material issue of Jane’s intent precluded entry of
                            MCELHANEY V. ORSBON &amp; FENNINGER, LLP

                                           2021-NCCOA-301

                                          Opinion of the Court



       summary judgment as to the petition for declaratory judgment. They contended that

       the issue was material to whether Jane had successfully exercised her power of

       appointment by substantially complying with the terms set out in Samuel’s Trust, as

       required by N.C. Gen. Stat. § 31D-3-304.

¶ 28          Plaintiffs also raised the issue of Jane’s intent while pursuing their

       Reformation Claim, which sought “to correct a mistake that occurred as the result of

       a scrivener’s error which caused [Jane’s Trust] to fail to conform the terms of trust to

       [Jane’s] intent.” Plaintiffs and the Specific Beneficiaries extensively litigated the

       issue of Jane’s intent prior to entry of the Underlying Order.                  Nonetheless,

       Defendants cannot meet their burden of showing “with clarity and certainty” that the

       issue of Jane’s intent was actually and necessarily determined by the Underlying

       Order. See Miller Bldg. Corp., 129 N.C. App. at 100, 497 S.E.2d at 435.

¶ 29          When the trial court orally announced its ruling, it stated in pertinent part

       that

                    in reviewing everything that was provided to me regarding
                    Jane’s [T]rust and the issue of power of appointment and
                    whether it was exercised . . . . I have to find that I don’t see
                    any issues of material fact in this case as relates to what her
                    intentions were at the time of the execution.

                            So as to the petition for declaratory judgment, I’m
                    finding that Jane did not exercise her testamentary limited
                    . . . power of appointment in either her will or her trust and
                    that the claim for reformation will not be available based
                    on the evidence of her intent at the time of execution. So
                             MCELHANEY V. ORSBON &amp; FENNINGER, LLP

                                            2021-NCCOA-301

                                           Opinion of the Court



                     again, as to the motion for summary judgment, I cannot
                     find there are any genuine issues of material fact . . . .
                     (emphasis added).

       The written Underlying Order stated in pertinent part that

                     there exists no genuine issue as to any material fact and
                     that [the Specific Beneficiary] Movants are entitled to
                     judgment as a matter of law on all claims and causes of
                     action asserted in this action, except the Movants’ Motion
                     for attorneys’ fees and costs . . . .

¶ 30          The Underlying Order granted the moving Specific Beneficiaries’ motion for

       summary judgment and, in the alternative, the motion for judgment on the

       pleadings.1 While the “slightest doubt” as to a material fact entitles a party opposing

       summary judgment to trial, Adventure Travel World, Ltd. v. Gen. Motors Corp., 107

       N.C. App. 573, 577, 421 S.E.2d 173, 176 (1992) (citation omitted), a dispute as to an

       immaterial fact will not preclude summary judgment, Capps v. City of Raleigh, 35

       N.C. App. 290, 293, 241 S.E.2d 527, 529 (1978).            Likewise, “[j]udgment on the

       pleadings is proper when ‘the movant clearly establishes that no material issue of




              1 We note that where “matters outside the pleadings are presented to and not excluded

       by the court,” a motion seeking judgment on the pleadings must be treated as a motion for
       summary judgment. See N.C. Gen. Stat. § 1A-1, Rule 12(c) (2018). Because the trial court
       explicitly stated that it considered matters outside the pleadings, it was improper to grant
       judgment on the pleadings in the alternative. See Battle v. Clanton, 27 N.C. App. 616, 618,
       220 S.E.2d 97, 98 (1975) (holding that judgment on the pleadings was inappropriate where
       “matters outside the pleadings were presented to and considered by the court”). Even so, the
       Underlying Order’s grant of judgment on the pleadings in the alternative illuminates the
       possible bases of the trial court’s dismissal of the Reformation Claim.
                             MCELHANEY V. ORSBON &amp; FENNINGER, LLP

                                            2021-NCCOA-301

                                           Opinion of the Court



       fact remains to be resolved and that he is entitled to judgment as a matter of law.’”

       Shearin v. Brown, 2021-NCCOA-4, ¶ 11 (quoting Samost v. Duke Univ., 226 N.C. App.

       514, 518, 742 S.E.2d 257, 260 (2013)). The petition for declaratory judgment and the

       counterclaim and crossclaim for reformation took inconsistent positions on the issue

       of Jane’s intent. Prior to entry of the Underlying Order, the parties submitted plainly

       conflicting evidence on this issue to the trial court.2

¶ 31         The trial court may have determined the issue of Jane’s intent by concluding

       that it was required to disregard some of the conflicting evidence of Jane’s intent as

       a matter of law. But it is also possible that the trial court merely determined that

       the conflicting evidence of Jane’s intent was immaterial as a matter of law.

       Specifically, the trial court could have resolved the Declaratory Action by determining

       that Jane had not substantially complied with the requirements on her limited power

       of appointment, regardless of her intent. See N.C. Gen. Stat. § 31D-3-304 (2015).

       Section 31D-3-304 provides that

                    [a] power holder’s substantial compliance with a formal
                    requirement of appointment imposed by the donor . . . is
                    sufficient if both of the following apply:

                           (1) The power holder knows of and intends to

             2 This evidence included, inter alia, Orsbon’s deposition testimony denying that Jane

       intended to exercise the limited power of appointment or directed him to draft her estate
       documents to do so, Linda Montgomery’s deposition testimony that Jane did intend to
       exercise the limited power of appointment, and affidavits from various witnesses attesting
       that Orsbon had acknowledged Jane’s intent to exercise the limited power of appointment
       during a “family meeting” concerning trust administration.
                            MCELHANEY V. ORSBON &amp; FENNINGER, LLP

                                           2021-NCCOA-301

                                          Opinion of the Court



                    exercise the power.

                          (2) The power holder’s manner of attempted exercise
                    of the power does not impair a material purpose of the
                    donor in imposing the requirement.

       Id. The Underlying Order could be based on a determination under section 31D-3-304

       that Jane’s “manner of attempted exercise . . . impair[ed] a material purpose” of the

       restrictions in Samuel’s Trust, and Defendants cannot show that Jane’s intent was

       material to, and therefore actually and necessarily determined in, the Declaratory

       Action.

¶ 32         Nor can Defendants show that the issue of Jane’s intent was material to the

       Reformation Claim, and therefore actually and necessarily determined. The trial

       court’s oral announcement could be understood as stating that reformation was

       unavailable because there was no genuine issue that Jane did not intend to exercise

       the power of appointment. But a closer examination of the Record and Underlying

       Order demonstrates that, as Plaintiffs argue, the trial court likely determined that

       Jane’s intent was immaterial to the Reformation Claim. Plaintiffs did not cite any

       precedent supporting the proposition that a court may reform a trust under

       § 36C-4-415 based on the settlor’s intent to exercise a power of appointment that by

       its terms could only be exercised in the power holder’s will. The moving Specific

       Beneficiaries underscored this issue and argued that “the relief [Plaintiffs] seek far

       exceeds the scope of permissible reformations under North Carolina Law.” On these
                            MCELHANEY V. ORSBON &amp; FENNINGER, LLP

                                              2021-NCCOA-301

                                           Opinion of the Court



       facts, Defendants cannot show with clarity and certainty that the issue of Jane’s

       intent was actually and necessarily determined in the Declaratory Action or

       Reformation Claim.3 Accordingly, collateral estoppel does not bar Plaintiffs’ claims.

       See Frinzi, 344 N.C. at 414, 474 S.E.2d at 128-29. The trial court did not err in

       denying Defendants’ motion for summary judgment and granting Plaintiffs’ motion

       for partial summary judgment on the defense of collateral estoppel.

                                         V.     Conclusion

¶ 33         We deny Defendants’ petition for a writ of certiorari to review the Order on

       Appeal as to the defense of election of remedies. Because Defendants cannot show

       that each element of the affirmative defense of collateral estoppel is satisfied, the

       trial court did not err in denying their motion for summary judgment and granting

       Plaintiffs’ motion for partial summary judgment as to that defense.

             AFFIRMED.

             Judges ZACHARY and HAMPSON concur.




             3 We therefore need not reach Plaintiffs’ additional arguments that collateral estoppel

       cannot apply here.
